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       Sacramento, CA 95814
 3     Telephone: 916.447.8262
 4   Attorney for Defendant
     JOSE ANTONIO OJEDA CABADA
 5
 6                            IN THE UNITED STATES DISTRICT COURT
 7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8                                      SACRAMENTO DIVISION
 9
10   UNITED STATES OF AMERICA,                          ) CASE NO.: 08-CR-0562EJG
                                                        )
11                               Plaintiff,             ) SUBSTITUTION OF COUNSEL & ORDER
                                                        )
12          vs.                                         )
                                                        )
13   JOSE ANTONIO OJEDA CABADA,                         )
                                                        )
14                               Defendant.             )
15                                                      )

16    Notice is hereby given that, subject to the approval of the court, JOSE ANTONIO OJEDA
17   CABADA , defendant in the above-entitled matter, and pursuant to Rule 83.182(g) of the Local
18   Rules of the United States District Court for the Eastern District of California, accepts and
19   substitutes appointed counsel, CLARENCE EMMETT MAHLE, CSBN 104069, 901 H St Ste
20   203, Sacramento, CA 95814 , for STEVEN D. BAUER as attorney of record in the above-
21   captioned case.
22
23   Dated: August 15, 2009                             Respectfully submitted,
24   I accept the above substitution.
25   Dated: July 15, 2009                               By:_/s/Jose Antonio Ojeda Cabada
                                                           JOSE ANTONIO OJEDA CABADA
26
                                                               Original signature on file
27
     I accept the above substitution.
28
     Dated: August 15, 2009                             STEVEN D. BAUER
                                                        By: /s/ Steven D. Bauer
                                                           STEVEN D. BAUER
                                                    1
     SUBSTITUTION OF COUNSEL                                                           CR S 08-0562 EJG
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 1   I accept the above substitution.
 2   Dated: August 15, 2009
 3                                            CLARENCE EMMETT MAHLE

 4                                            By:    /s/ Clarence Emmett Mahle
                                              CLARENCE EMMETT MAHLE
 5
                                              Attorney for Defendant
 6                                            JOSE ANTONIO OJEDA CABADA

 7
 8
 9
10                                      ORDER
11          IT IS SO ORDERED.
12
13
     Dated: August 19, 2009                   /s/ Edward J. Garcia ____
14                                            EDWARD J. GARCIA
15                                            UNITED STATES DISTRICT JUDGE

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     SUBSTITUTION OF COUNSEL                                         CR S 08-0562 EJG
